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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                          Criminal No. 19-CR-10117-6
       vs.

FELICITY HUFFMAN,

                      Defendant.



                  ASSENTED TO MOTION TO CHANGE RULE 11 DATE

        A waiver of indictment and change of plea hearing (Rule 11 hearing) for Defendant
Felicity Huffman is currently scheduled for May 21, 2019. The Government hereby moves to
reschedule this hearing to the afternoon of May 13, 2019. As grounds for the motion,
undersigned counsel for the Government represents that he will be traveling out of the country
during the week of May 20th, 2019. Accordingly, the government respectfully requests that the
hearing be moved forward to the afternoon of May 13, 2019.

       The Government has conferred with defense counsel for Defendant, who has graciously
consented to this request.


                                                   Respectfully submitted,

                                                   ANDREW E. LELLING
                                                   United States Attorney


                                            By:    __________________
                                                   ERIC S. ROSEN
                                                   Assistant U.S. Attorney

                                                   Date: April 25, 2019
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                                CERTIFICATE OF SERVICE

        I hereby certify that the parties have met and conferred about this motion to continue, and
that this document filed through the ECF system will be sent electronically to the registered
participants identified on the Notice of Electronic Filing (NEF) and mailed to all those not
participating in ECF.


Dated: April 25, 2019                                       By:    /s/ Eric S. Rosen
                                                            ERIC S. ROSEN
                                                            Assistant United States Attorney




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